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 6
     Attorney for Plaintiff, SONYA PICKETT
 7
                     IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE DISTRICT OF NEVADA
 9
                                             )   Case No. 2:18-cv-02280-APG-DJA
10   SONYA PICKETT,                          )
                                             )
11
                                             )
                           Plaintiff,        )
                                             )   STIPULATION AND ORDER
12   v.                                          DISMISSING ACTION WITH
                                             )
                                             )   PREJUDICE
13   QCHI f/k/a QC HOLDINGS, INC.,           )
14                         Defendants.       )

15

16         Plaintiff SONYA PICKETT and Defendant, QCHI F/K/A QC HOLDINGS,
17   INC., hereby stipulate and agree that the above-entitled action shall be dismissed
18   …

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     …
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            Case 2:18-cv-02280-APG-DJA Document 25 Filed 08/14/19 Page 2 of 2




 1   with prejudice in accordance with Fed. R. Civ. P. 41 (a)(2). Each party shall bear
 2   its own attorney's fees, disbursements, and costs of suit.
 3          Dated:             August 13, 2019
 4    By:                                        By:

 5    /s/David H. Krieger, Esq.                  /s/Ruth Segal, Esq.
      David H. Krieger, Esq.                     Donald Kudler, Esq.
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 9
      Attorney for Plaintiff,                    Angeles, CA 90015
10    SONYA PICKETT                              Pro Hac Vice
                                                 Attorneys for Defendan,t
11                                               QCHI F/K/A QC HOLDINGS, INC.
12
                                           ORDER
13
            IT IS SO ORDERED
14

15
                                             ____________________________
16
                                             UNITED STATES DISTRICT JUDGE
17                                           Dated: August 14, 2019.
                                             DATED: ____________________
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